         Case 3:15-cv-00675-JBA Document 1358 Filed 12/02/19 Page 1 of 3



                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

UNITED STATES SECURITIES AND EXCHANGE )
COMMISSION,                                        )
                                                   )
              Plaintiff,                           )
                                                   )
v.                                                 )            Civil Action No.
                                                   )            3:15-cv-675-JBA
                                                   )
IFTIKAR AHMED                                      )
                                                   )
              Defendant, and                       )
and                                                )
                                                   )
IFTIKAR ALI AHMED SOLE PROP; I-CUBED               )
DOMAINS, LLC; SHALINI AHMED; SHALINI               )
AHMED 2014 GRANTOR RETAINED                        )
ANNUNITY TRUST; DIYA HOLDINGS LLC;                 )
DIYA REAL HOLDINGS, LLC; I.I. 1, a minor child, )
by and through his next friends IFTIKAR and        )
SHALINI AHMED, his parents; I.I. 2, a minor child, )
by and through his next friends, IFTIKAR and       )
SHALINI AHMED, his parents; I.I. 3, a minor child, )
by and through his next friends, IFTIKAR and       )
SHALINI AHMED, his parents                         )
                                                   )
              Relief Defendants.                   )
                                                   )                    December 2, 2019

        RECEIVER’S RESPONSE TO DEFENDANT’S MOTION TO REDUCE
    DISGORGEMENT IN THIS CASE FOR THE DEFAULT JUDGMENT ENTERED
     AGAINST HIM IN THE NMR E-TAILING NEW YORK STATE PROCEEDING

        Jed Horwitt, Esq., in his capacity as Court-appointed receiver of the Receivership Estate 1

(the “Receiver”), through his undersigned counsel, respectfully responds (the “Response”) to the

Defendant’s Motion to Reduce Disgorgement in this Case for the Default Judgment Entered

Against Him in The NMR E-tailing New York State Proceeding [Doc. No. 1325] (the “Motion”),

filed on November 10, 2019. In support thereof, the Receiver respectfully represents as follows.


1
  Unless expressly defined otherwise, the Receiver incorporates by reference the definitions of terms set
forth in the Report of Receiver [Doc. No. 1135] (the “Report”).

                                                   1
        Case 3:15-cv-00675-JBA Document 1358 Filed 12/02/19 Page 2 of 3



       The Receiver and his counsel have reviewed the Motion and the relief requested therein.

The Receiver takes no position with respect to the Defendant’s request to adjust the disgorgement

portion of the Judgment. As a threshold matter, the Receiver notes that the court in the NMR e-

Tailing LLC v. Oak Investment Partners, et al., Index No. 656450/2017 (the “NMR Case”) only

granted “a judgment on liability against” the Defendant, further providing that “[t]he issue of

damages is reserved for trial,” which has not yet occurred. In the Receiver’s view, the absence of

such a determination of damages in NMR’s favor against the Defendant renders a final

determination as to the offset of such damages against the disgorgement portion of the Judgment,

even if appropriate, impossible at this time.

        Regardless, in that any decrease of the disgorgement portion of the Judgment by way of

an offset for funds awarded to NMR would not burden the Receiver in the execution of his duties

under the Appointment Order or otherwise prejudice the Receivership Estate, the Receiver takes

no position with respect to the offset requested by the Defendant.

       Upon request, the Receiver or his counsel will attend any hearings scheduled by the Court

on this matter and provide any relevant information and assistance that the Court may request in

addressing this Motion.

                                                     Respectfully submitted,
                                                     JED HORWITT, ESQ., RECEIVER


                                                      /s/ Christopher H. Blau
                                                     Stephen M. Kindseth (ct14640)
                                                     Christopher H. Blau (ct30120)
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                                                     skindseth@zeislaw.com
                                                     Counsel to the Receiver

                                                2
        Case 3:15-cv-00675-JBA Document 1358 Filed 12/02/19 Page 3 of 3




                                 CERTIFICATE OF SERVICE

       I hereby certify that on December 2, 2019, a copy of the foregoing Response was filed

electronically and served by mail on anyone unable to accept electronic filing. Notice of this filing

will be sent by e-mail to all parties by operation of the court’s electronic filing system or by mail

to anyone unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties

may access this filing through the Court’s CM/ECF System. Furthermore, a copy of the foregoing

was sent via email to the Defendant, Iftikar A. Ahmed, at iftyahmed@icloud.com.



                                                       /s/ Christopher H. Blau
                                                      Christopher H. Blau (ct30120)




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